                        UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                         CIVIL ACTION NO. 1:23-CV-00077

 AMY BRYANT, M.D.,                           )
                                             )
                Plaintiff,                   )
 v.                                          )            THE ATTORNEY GENERAL’S
                                             )             RESPONSE TO MOTION TO
 JOSHUA H. STEIN in his official capacity as )             INTERVENE BY PHILLIP E.
 Attorney General for the State of North     )             BERGER AND TIMOTHY K.
 Carolina, et al.,                           )                    MOORE
                                             )
                Defendants.                  )
 _____________________________________ )

       On January 25, 2023, Plaintiff filed this lawsuit. On February 13, 2023, the

Attorney General’s General Counsel sent the legislative leaders a letter that stated, as

relevant here:

                 [A]fter review and analysis, we have concluded that Plaintiff’s
                 preemption arguments are legally correct. Consistent with its
                 statutory authority, the FDA has determined that restrictions
                 like the ones imposed under North Carolina state law would
                 unduly burden patients’ access to a safe and effective drug. The
                 Supremacy Clause of the U.S. Constitution does not permit
                 States to pass laws that undermine that determination.

(DE 30-1)     The letter made clear that the Attorney General would cooperate with

intervention should the legislative leaders elect to intervene. (Id.)

       On February 21, 2023, the legislative leaders moved to intervene. (DE 29) Under

the circumstances, the Attorney General respectfully informs the Court that he does not

oppose intervention in this matter.




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Respectfully submitted, this 27th day of February, 2023.



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                                                      /s/ Amar Majmundar
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